                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

                                      GRANDJURY B-17-1

UNITED STATES OF AMERICA                                CRTMTNALNo
                                                                             ilfhKl 4{                J   /fyl
                                                        VIOLAT10N:
       V
                                                                                   ｀
FAREED AHMED KJAN                                       18U,.C_§ 1001(a)の         ご言
                                                        鼈 織TT¨F蘭
                                          NDICTMEl汀
                                                                                                  彗
       The Grand Jury charges:                                         :言                   i
                                                                                  :1'   F
                                                                                            (Jt

                                           COUNT ONE
                     (Making                   in a Terrorism lnvestigation)
                               a False Statement


       On or about June 26, 2015, in the District of Connecticut, in   a   matter involving intemational

terrorism as defined in Title 18, United States Code, Section 2331, within the jurisdiction of the

executive branch   of the Govemment of the United          States, that      is, the Federal Bureau of

Investigation (FBI), the defendant, FAREED AHMED KHAN, did knowingly and willfully make

materially false, fraudulent, and fictitious statements and representations, to wit:

       (1)     He was not affiliated with the Islamic Circle of North America C'ICNA"), ICNA

Relief, Helping Hands, or the Helping Hand for Relief and Development;

       (2)     He had no personal association with    ICNA;

       (3)     He did not know anyone from      ICNA;

       (4')    He had no idea how charities such as ICNA work and was not aware                   if   they

collected cash, checks or other material goods for individuals in need;

       (5)     He had never collected any type of charitable donations for ICNA or any other

charitable organization; and
       (6)     The only packages he has ever sent to Pakistan were to his sister and brother and

contained clothing.

       All in violation of Title   18, United States Code, Section 1001(a)(2).




                                                         A TRUE BILL




 ANESSA RICHARDS
ASSISTANT U S ATTORNEY
                                                    う‘
